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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

ENVIRONMENT TEXAS CITIZEN
LOBBY, INC., and SIERRA CLUB,

Plaintiffs, Civil Action No. 4:10-cv-4969
v.

EXXONMOBIL CORPORATION,
EXXONMOBIL CHEMICAL COMPANY,
and EXXONMOBIL REFINING AND
SUPPLY COMPANY,

Defendants.

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DECLARATION OF DAVID A. NICHOLAS IN SUPPORT OF
PLAINTIFES’ MOTION TO EXCLUDE THE TESTIMONY OF
DEFENDANTS’ EXPERT KAREN T. OLSON

I, David Nicholas, state as follows:

1. Lam one of Plaintiffs’ counsel. I make this declaration in support of Plaintiffs’
Motion to exclude the testimony of Defendant’s expert, Karen T. Olson. I have

personal knowledge of all facts and statements attested to in this declaration.

2. Attached as Plaintiffs’ Exhibit A is a true and correct copy of the Initial Report

of Karen T. Olson, served by Defendants’ Counsel dated May 15, 2012.
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3. Attached as Plaintiffs’ Exhibit B are true and correct copies of excerpted
transcript pages of the deposition of Karen T. Olson, dated June 18, 2012 which

was received from the Court Reporter.

4, Attached as Plaintiffs’ Exhibit C are true and correct copies of excerpted pages

of the Expert Report of Keith Bowers, dated March 15, 2012.

5. Attached as Plaintiffs’ Exhibit D are true and correct copies of excerpted pages

of the Expert Report of Ranajit Sahu, dated March 13, 2012.

I declare under the penalty of perjury, this 10th day of August, 2012, that the

foregoing is true and correct.

fg ~~

David A. Nicholas
